
*1335OPINION.
Love :
The taxpayer contends that, by reason of the fact that the amounts credited to the several stockholders were left in the business and used by 'the corporation during 1919, and carried to surplus December 31, 1919, as of January 1, 1919, invested capital should include those amounts for 1919.
It will be noted that on January 1, 1919, the aggregate amount of those individual credits was $47,687.33, and apparently it was not until December 31, that those accounts were increased to the aggre-gaie of exactly $65,000 for the purpose of the transfer of same to surplus.
Those credits remained throughout the year 1919 in the name of the several stockholders, subject to withdrawal by them. They constituted an indebtedness of the corporation and can not, therefore, be included in invested capital. Appeal of Kelly-Buckley Co,, 1 B. T. A. 1154; Appeal of Won. H. Davidow Sons Co., 1 B. T. A. 1215.
In regard to the $12,767.32 expended for improvements in 1919, it is clear that they normally fall within the class recognized as capital expenditures rather than ordinary and necessary expenses. *1336This being true, we are expressly prohibited by statute from directly deducting the same in computing net income. Section 215 of the Revenue Act of 1918 provides in part:
See. 215. That in computing net income no deduction shall in any case be allowed in respect of—
⅜ ¾« ⅜ ⅛⅛ * ⅜ ⅜
(b) Any amount paid out for new buildings or for permanent improvements or betterments made to increase the value of any property or estate.
From the evidence it appears that the taxpayer did not own the property upon which it made the improvements, nor did it have a lease or pay rent. Its tenure was in the nature of a permissive use or tenancy at will and the taxpayer did, in fact, abandon the premises after 20 months’ use. The taxpayer contends that, by reason of its uncertain tenure, it should be allowed to exhaust the entire cost of improvements in the year in which made. This contention, however, is not tenable. Appeal of Sentinel Publishing Co., 2 B. T. A. 1211; Appeal of Thatcher Medicine Co., 3 B. T. A. 154; Appeal of William Scholes &amp; Sons, Inc., 3 B. T. A. 598.

The deficiency' is $6,057.71. Order will be entered accordingly.

